956 F.2d 1162
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carlton Lee BITTENBENDER, Petitioner-Appellant,v.John B. TAYLOR, Warden, Respondent-Appellee.
    No. 90-6050.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 28, 1992.Decided March 9, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Albert V. Bryan, Jr., Senior District Judge.  (CA-89-619-AM)
      Carlton Lee Bittenbender, appellant pro se.
      Robert B. Condon, Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before WIDENER and SPROUSE, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Carlton Lee Bittenbender seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Bittenbender v. Taylor, No. CA-89-619-AM (E.D.Va. January 29, 1990).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    